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 UNITED STATES DISTRICT COURT                                        CIVIL CONFERENCE
 EASTERN DISTRICT OF NEW YORK                                        MINUTE ORDER

 BEFORE: STEVEN I. LOCKE                                             DATE: 8/9/2023
         U.S. MAGISTRATE JUDGE                                       TIME: 11:30 am

 CASE: CV 23-1339 (JMA)(SIL) Coste, Jr. v. Town of Islip et. al

 TYPE OF CONFERENCE: HEARING                                         FTR: 11:30-12:02


 APPEARANCES:
      For Plaintiff:           Cory Morris

       For Defendants:        Nathanial Hemmerick Hunt and Peter Kirsch

       Other:                  Robert Schumacher for FAA

 THE FOLLOWING RULINGS WERE MADE:
 ☐    Scheduling Order entered.

 ☐     The court has adopted and So Ordered the joint proposed scheduling order [        ]
       submitted by the parties.

 ☐     The Joint Pretrial Order is accepted for filing and the action is deemed ready for trial.
       The action will be tried in accordance with the discretion and the trial calendar of the
       District Judge.

 ☒     Other: Scheduling conference/status conference/motion hearing held. Plaintiff’s motion
       to amend/supplement, DE [19], is granted over the objection of the FAA, with the FAA
       reserving its rights to make a motion to dismiss. The Town Defendants’ motion for a pre-
       motion conference in support of their motion to dismiss, DE [24], is granted. Both the
       Town Defendants and FAA will serve their respective motions to dismiss on September
       25, 2023. Plaintiff will serve opposition on October 13, 2023. Reply papers will be served
       on November 20, 2023. Moving and opposition papers may be up to 30 pages and reply
       papers may be up to 15 pages. All papers will be filed on November 21, 2023 and courtesy
       copies of all papers will be submitted to the Court by personal or overnight delivery. The
       Town Defendants’ motion for a stay, which is joined by the FAA, DE [25], is granted, with
       the proviso that if the Town Defendants change Plaintiff’s access to Taxiway H, as
       discussed on the record, they will provide Plaintiff will ten days advance written notice
       such that Plaintiff can seek relief in Court by order to show cause.
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                                          SO ORDERED

                                          /s/Steven I. Locke
                                          STEVEN I. LOCKE
                                          United States Magistrate Judge
